











Opinion issued May 8, 2008
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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00289-CV




IN RE ATLANTIC SPECIALTY INSURANCE COMPANY, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 

By petition for writ of mandamus, relator, Atlantic Specialty Insurance
Company, seeks relief to compel the trial court to vacate its March 28, 2008 order.


 
  
We deny the petition for writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Nuchia, Hanks, and Higley.  


